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                          EXHIBIT C
To:      Swartz, Bruce (CRM)
From:    Case 1:19-cr-20450-RNS
         Abrams,  Elliot             Document 146-4 Entered on FLSD Docket 10/13/2022 Page 2 of 2
Sent:    Sun 6/14/2020 9:00:35 PM (UTC)
Subject: Saab

Tidbits about Saab below: he seems to have Antiguan and Dominican passports, perhaps dip passports, as well as
Colombian and Venezuelan
Sec Pompeo wonders if we can argue that his Venezuelan dip passport is illicit because awarded by criminals not President
Guaido, but if it had been issued before January 2019 we too recognized Maduro ( and anyway CV probably follows the UN
in recognizing Maduro). Pompeo also noted that in any event he was not accredited to CV nor was he in a diplomatic
mission: he was involved arguably in a mission designed to violate UN sanctions on Iran.




https://rijock.blogspot.com/2020/06/alex-saab-moran-fugitive-colombian.html
